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                              Email: rdavison@starrgern.com


                                        May 7, 2025




VIA ECF

Office of the Clerk
United States Court of Appeals for the Third Circuit
21400 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106-1790

       Re:     Atlas Data Privacy Corp. v. Lighthouse List Co., LLC, No. 25-1593
               Defendant-Appellant’s Response to May 6, 2025 Order (Dkt. No. 49)

Dear Office of the Clerk:

        My firm represents Defendant-Appellant Lighthouse List Company, LLC (“Lighthouse
List”) in the above-captioned appeal. On May 6, 2025, the Court ordered Lighthouse List to advise
if Lighthouse List takes a position on certain Appellants’ Motion to Refer the Case to Appellate
Mediation, which Lighthouse List did not join. See Atlas Data Privacy Corp. v. We Inform, LLC,
No. 25-1555, Dkt. No. 50 (the “Motion”) (May 5, 2025).

       Lighthouse List states that it takes no position on the Motion.


                                                       Respectfully submitted,

                                                       /s/ Ronald L. Davison
                                                           Ronald L. Davison



CC: All counsel of record (via electronic filing)
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                               CERTIFICATE OF SERVICE

       I, Ronald L. Davison, counsel for Defendant-Appellant Lighthouse List Company, LLC,

and a member of the bar of this Court, certify that, on May 7, 2025, the foregoing document was

filed via ECF using the CM/ECF system. Participants in the case are registered CM/ECF users,

and service will be accomplished by the appellate CM/ECF system.




                                                   /s/ Ronald L. Davison
                                                       Ronald L. Davison
